                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                       CRIMINAL DOCKET NO. 5:05CR9-V

UNITED STATES OF AMERICA        )
                                )
                                )
           vs.                  )                      ORDER
                                )
                                )
ETOYI MONRAY BLOUNT,            )
           Defendant.           )
________________________________)

      THIS MATTER is before the Court upon the Defendant’s Motions For Bond and

Emergency Release, both filed March 27, 2007. (Documents #724, #725) Defendant,

who faces a sentence of life imprisonment, is currently scheduled to be sentenced on April

17, 2007. The Government opposes Defendant’s request for bond, generally, as well as

Defendant’s request for a temporary emergency release. Given the history and posture

of this case, Defendant’s motions must be denied at this time.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motions For Bond and For

Emergency Release are both hereby DENIED.



                                            Signed: March 28, 2007




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